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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

 MATTHEW D. WILLIAMS,                          )
 on behalf of plaintiff and a class,           )
                                               )
                         Plaintiff,            )
                                               )
                 vs.                           )
                                               )       17-CV-538-RNC
 RUSHMORE LOAN MANAGEMENT                      )
 SERVICES, LLC;                                )
 MCCALLA RAYMER LEIBERT                        )
 PIERCE, LLC, successor by merger to           )
 Hunt Leibert Jacobson, P.C.; HUNT             )
 LEIBERT JACOBSON, P.C., and                   )
 GMAT LEGAL TITLE TRUST 2013-1,                )
 also known as GMAT 2013-1 TRUST,              )
 by U.S. BANK, NATIONAL                        )
 ASSOCIATION,                                  )
                                               )
                             Defendants.       )       September 14, 2020

                                      NOTICE OF SETTLEMENT

        Plaintiff Matthew D. Williams and Defendants Rushmore Loan Management Services,

LLC, McCalla Raymer Leibert Pierce, LLC, Hunt Leibert Jacobson, P.C. and GMAT Legal Title

Trust 2013-1 (collectively, “Defendants”) respectfully notify the Court that the parties have

reached an individual settlement in this matter. The parties expect to file a stipulation of

dismissal by October 31, 2020.


Respectfully submitted,

Plaintiff Matthew D. Williams

By: /s/ Heather Kolbus
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Defendants Rushmore Loan Management Services, LLC and GMAT Legal Title Trust 2013-1

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Defendant McCalla Raymer Leibert Pierce, LLC and Hunt Liebert Jacobson

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                              CERTIFICATE OF SERVICE

       I, Heather Kolbus, hereby certify that on September 14, 2020, I caused a true and
accurate copy of the foregoing document to be filed with the Court’s CM/ECF system, which
caused notice via email to be sent to the following parties:

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